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                              UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF CALIFORNIA                                    F I LED
UNITED STATES OF AMERICA,                                                              1& SEP -9 Ali 8: 57
                                                          Case No. l5crll0t9~. r;,"'"'"'H1"T~GN'air
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                                      Plaintiff,
                     vs.                                  AMENDED
                                                          JUDGMENT OF DISMISSAL
ADRIAN JASSO (1),
                                                          (Correction for Clerical Mistake)
                                   Defendant.



IT APPEARING that the defendant is now entitled to be discharged for the reason that:

     an indictment has been filed in another case against the defendant and the Court has
o    granted the motion of the Government for dismissal ofthis case, without prejudice; or

o    the Court has dismissed the case for unnecessary delay; or

     the Court has granted the motion of the Government for dismissal, with prejudice; or

o    the Court has granted the motion of the defendant for a judgment of acquittal; or

o    a jury has been waived, and the Court has found the defendant not guilty; or

o    the jury has returned its verdict, finding the defendant not guilty;

     of the offense as charged in the Information:
     8: 1324(a)(I)(A)(ii), (v)(II) and (a)(1)(B)(i)




Dated:   9/6/2016
                                                      Hon. Nita L. Stormes
                                                      United States Magistrate Judge
